           Case 2:11-cr-00120-JCC          Document 242       Filed 06/06/11      Page 1 of 3




 1

 2

 3

 4

 5

 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. CR11-120-JCC

10          v.                                           DETENTION ORDER

11 FRANK J. LOZANO,

12                                Defendant.

13 Offense charged:

14          Conspiracy to Distribute Marijuana.

15 Date of Detention Hearing: June 6, 2011.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          Defendant is charged with a drug trafficking offense that carries a mandatory prison term

23 of 10 years of prison. There is thus a presumption that he be detained. Based on the parties’



     DETENTION ORDER - 1
            Case 2:11-cr-00120-JCC         Document 242         Filed 06/06/11      Page 2 of 3




 1 presentation, this presumption was not overcome. Defendant was born in Mexico and still has

 2 relatives living in that country. Although many of his family members are living in the United

 3 States, he does have a foreign county to flee to. The lengthy sentence also provides him another

 4 incentive to flee. The evidence against defendant is strong. The government has taped phone

 5 calls referring to the defendant and the defendant was also observed by law enforcement

 6 engaging in activities consistent with drug trafficking. He owns a number of pieces of real

 7 property in Illinois, some bought for cash. This is inconsistent with his work history as carpenter

 8 who has been struggling to find work.

 9          It is therefore ORDERED:

10          (1)    Defendant shall be detained pending trial and committed to the custody of the

11 Attorney General for confinement in a correctional facility separate, to the extent practicable,

12 from persons awaiting or serving sentences, or being held in custody pending appeal;

13          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

14 counsel;

15          (3)    On order of a court of the United States or on request of an attorney for the

16 Government, the person in charge of the correctional facility in which Defendant is confined

17 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

18 connection with a court proceeding; and

19          (4)    The clerk shall direct copies of this order to counsel for the United States, to

20 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

21 ///

22 ///

23 ///



     DETENTION ORDER - 2
          Case 2:11-cr-00120-JCC      Document 242   Filed 06/06/11     Page 3 of 3




 1 Officer.

 2        DATED this 6th day of June, 2011.

 3

 4

 5
                                                A
                                                BRIAN A. TSUCHIDA
                                                United States Magistrate Judge
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23



     DETENTION ORDER - 3
